      Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 1 of 48




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


PEOPLE FOR THE ETHICAL
TREATMENT OF ANIMALS, MADELINE
KRASNO, and RYAN HARTKOPF,

              Plaintiffs,

       v.

LAWRENCE A. TABAK, in his official              Civil Action No. 21-2380 (BAH)
capacity as Acting Director of the National
Institutes of Health, and XAVIER
BECERRA, in his official capacity as
Secretary of the U.S. Department of Health
and Human Services,

              Defendants.


  MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                  SUMMARY JUDGMENT
            Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 2 of 48




                                                           Table of Contents

Table of Authorities ........................................................................................................................iii

Introduction ..................................................................................................................................... 1

Statement of Facts ........................................................................................................................... 3

     I.          The NIH’s Facebook page and Instagram account........................................................ 3

                 A.         The NIH’s Facebook page ................................................................................. 3

                 B.         The NIH’s Instagram account ........................................................................... 6

     II.         The NIH’s use of keyword blocking to suppress animal advocacy .............................. 8

                 A.         Facebook and Instagram’s filtering and blocking options ................................ 8

                 B.         The NIH’s use of Facebook’s and Instagram’s keyword blocking
                            features ............................................................................................................ 10

                 C.         The NIH’s comment moderation policies and practices ................................. 12

     III.        The NIH’s suppression of Plaintiffs’ speech on the NIH Facebook Page and
                 Instagram Account....................................................................................................... 13

                 A.         Plaintiffs’ use of social media to advocate against animal testing .................. 13

                 B.         The NIH’s blocking of Plaintiffs’ speech from its social media
                            accounts ........................................................................................................... 15

Standard of Review ....................................................................................................................... 20

Argument ....................................................................................................................................... 21

     I.          The comment threads on the NIH Facebook Page and Instagram Account are
                 designated public forums under the First Amendment................................................ 21

                 A.         Overview of public forum doctrine ................................................................. 21

                 B.         The comment threads are designated public forums. ...................................... 23

     II.         The NIH’s keyword blocking violates the First Amendment. .................................... 28

                 A.         The NIH’s keyword blocking unconstitutionally discriminates on the
                            basis of viewpoint. ........................................................................................... 28

                 B.         The NIH’s keyword blocking is also an unconstitutional content-based
                            restriction on speech in a public forum. .......................................................... 33


                                                                         i
           Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 3 of 48




                C.          The NIH’s keyword blocking would violate the First Amendment even
                            if the comment threads were considered limited forums or nonpublic
                            forums. ............................................................................................................. 39

Conclusion ..................................................................................................................................... 40




                                                                        ii
           Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 4 of 48




                                                         Table of Authorities

Cases

Act Now to Stop War and End Racism Coal. v. District of Columbia, 846 F.3d 391
    (D.C. Cir. 2017) ....................................................................................................................... 33

*Am. Freedom Def. Initiative v. Wash. Metro. Area Transit Auth., 898 F. Supp. 2d
   73 (D.D.C. 2012) ................................................................................................... 34, 36, 37, 39

Archdiocese of Wash. v. Wash. Metro Area Transit Auth., 897 F.3d 314 (D.C. Cir.
   2018) .................................................................................................................................. 26, 40

Boardley v. U.S. Dep’t of Interior, 615 F.3d 508 (D.C. Cir. 2010)............................................... 38

Brown v. Entm’t Merchs. Ass’n, 564 U.S. 786 (2011) ............................................................ 37, 38

Bryant v. Gates, 532 F.3d 888 (D.C. Cir. 2008)............................................................................ 23

Consol. Edison Co. of N.Y., Inc. v. Pub. Serv. Comm’n of N.Y., 447 U.S. 530
   (1980) ...................................................................................................................................... 36

*Cornelius v. NAACP Legal Def. & Educ. Fund, Inc., 473 U.S. 788 (1985) ............. 21, 22, 23, 39

Czosnyka v. Gardiner, No. 21-cv-3240, 2022 WL 407651 (N.D Ill. Feb. 10, 2022).................... 27

*Davison v. Randall, 912 F.3d 666 (4th Cir. 2019) ...............................................................passim

Faison v. Jones, 440 F. Supp. 3d 1123 (E.D. Cal. 2020) .............................................................. 27

Felts v. Reed, 504 F. Supp. 3d 978 (E.D. Mo. 2020) .............................................................. 24, 28

Garnier v. Poway Unified Sch. Dist., No. 17-cv-2215-W (JLB), 2019 WL
   4736208 (S.D. Cal. Sep. 26, 2019) .......................................................................................... 27

Hall & Assocs. v. Env’t Prot. Agency, 956 F.3d 621 (D.C. Cir. 2020) ......................................... 20

Hodge v. Talkin, 799 F.3d 1145 (D.C. Cir. 2015) ......................................................................... 21

Hopper v. City of Pasco, 241 F.3d 1067 (9th Cir. 2001) .............................................................. 35

Hyman v. Kirksey, No. 3:18-cv-230-DPM, 2019 WL 2323864 (E.D. Ark. May 30,
  2019) ........................................................................................................................................ 28

Iancu v. Brunetti, 139 S. Ct. 2294 (2019) ............................................................................... 30, 31

*Kimsey v. City of Sammamish, No. C21-1264 MJP, 2021 WL 5447913 (W.D.
   Wash. Nov. 22, 2021) .......................................................................................................passim



                                                                        iii
           Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 5 of 48




*Knight First Amendment Inst. at Columbia Univ. v. Trump, 928 F.3d 226 (2d
   Cir. 2019), vacated as moot sub nom. Biden v. Knight First Amendment Inst.
   at Columbia Univ., 141 S. Ct. 1220 (Mem.) (2021) ................................................ 2, 23, 26, 27

Leuthy v. LePage, No. 1:17-cv-00296-JAW, 2018 WL 4134628 (D. Me. Aug. 29,
   2018) ........................................................................................................................................ 28

Mahoney v. Babbit, 105 F.3d 1452 (D.C. Cir. 1997) .................................................................... 37

Matal v. Tam, 137 S. Ct. 1744 (2017) ..................................................................................... 22, 31

McCullen v. Coakley, 573 U.S. 464 (2014) ................................................................................... 22

Minn. Voters All. v. Mansky, 138 S. Ct. 1876 (2018) .................................................................... 40

Morgan v. Bevin, 298 F. Supp. 3d 1003 (E.D. Ky. 2018) ............................................................. 27

One Wisc. Now v. Kremer, 354 F. Supp. 3d 940 (W.D. Wisc. 2019) ..................................... 24, 27

Packingham v. North Carolina, 137 S. Ct. 173 (2017) ................................................................. 24

Paulsen v. Cty. of Nassau, 925 F.2d 65 (2d Cir. 1991) ................................................................. 27

Perry Educ. Ass’n. v. Perry Local Educators’ Ass’n, 460 U.S. 37 (1983) ............................. 21, 22

PETA v. Gittens, 215 F. Supp. 2d 120 (D.D.C. 2002) ............................................................. 30, 33

Police Dept. of City of Chicago v. Mosley, 408 U.S. 92 (1972).................................................... 28

Price v. City of N.Y., No. 15 Civ. 5871 (KPF), 2018 WL 3117507 (S.D.N.Y. June
    25, 2018) .................................................................................................................................. 28

R.A.V. v. City of St. Paul, Minn., 505 U.S. 377 (1992) ........................................................... 22, 30

Reed v. Town of Gilbert, Ariz., 576 U.S. 155 (2015) .................................................................... 36

Robinson v. Hunt Cty., Tex., 921 F.3d 440 (5th Cir. 2019) ........................................................... 27

*Rosenberger v. Rector and Visitors of Univ. of Va., 515 U.S. 819 (1995)...........................passim

Scarborough v. Frederick Cty. Sch. Bd., 517 F. Supp. 3d 569 (W.D. Va. 2021) ......................... 27

Se. Promotions, Ltd. v. Conrad, 420 U.S. 546 (1975)................................................................... 21

*Stewart v. D.C. Armory Bd., 863 F.2d 1013 (D.C. Cir. 1988)) ....................................... 23, 26, 35

Tanner v. Ziegenhorn, No. 4:17-cv-780-DPM, 2021 WL 4502080 (E.D. Ark. Sep.
   30, 2021) .................................................................................................................................. 27



                                                                        iv
           Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 6 of 48




Walker v. Tex. Div., Sons of Confederate Veterans, Inc., 576 U.S. 200 (2015) ............................ 22

West v. Shea, 500 F. Supp. 3d 1079 (C.D. Cal. 2020)................................................................... 28

Windom v. Harshbarger, 396 F. Supp. 3d 675 (N.D.W. Va. 2019) .............................................. 28

Zukerman v. U.S. Postal Serv., 961 F.3d 431 (D.C. Cir. 2020) ........................................ 21, 22, 28

Zukerman v. U.S. Postal Serv., No. 15-cv-2131 (CRC), 2021 WL 4355426
   (D.D.C. 2021) .......................................................................................................................... 33

Other Authorities

About Protecting your Business on Instagram, Instagram Help Center,
   https://perma.cc/XN5T-TVUN?type=image ........................................................................... 39

Community Guidelines, Instagram Help Center, https://perma.cc/YC88-XQBH?
  type=image .............................................................................................................................. 24

Facebook Community Standards, Meta, https://perma.cc/UM3D-MSZK .................................... 24

How do I adjust who can comment on my public posts on Facebook?, Facebook
  Help Center, https://perma.cc/R4EF-WSC4............................................................................ 25

How do I turn comments on or off for my Instagram posts?, Instagram Help
  Center, https://perma.cc/B5GL-KHSB?type=image ............................................................... 25

NIH Comment Guidelines, Nat’l Institutes of Health (Mar. 13, 2019),
   https://perma.cc/W9A9-2CP9 ................................................................................................. 12

Web Policies and Notices – Privacy Policy – How NIH.gov Uses Third-Party Web
  Sites and Applications – Facebook, Nat’l Institutes of Health (Jan. 14, 2021),
  https://perma.cc/BC7R-ZFME ................................................................................................ 13

Rules

Fed. R. Civ. P. 56(a) ...................................................................................................................... 20




                                                                      v
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 7 of 48




                                           Introduction

       This case involves a government agency’s patently unconstitutional practice of

surreptititously censoring speech it does not like—speech that is critical of the agency—in public

forums. The National Institutes of Health (“NIH”) uses its Facebook and Instagram accounts to

communicate and interact with members of the public, and in turn, members of the public use the

public commenting features associated with those accounts to share their views with one another

and with the NIH. Facebook and Instagram users have posted comments concerning a wide range

of important and often controversial topics—including the veracity of the NIH’s scientific claims,

the persistence of racism in the medical community, and the relationship between government

health agencies and pharmaceutical companies. Users who posted comments about the role of

animal testing in scientific research, however, found their comments persistently hidden from

public view and themselves excluded from the debate. This was no accident. A Freedom of

Information Act request filed by Plaintiff Ryan Hartkopf forced the NIH to reveal for the first time

that it has created custom keyword blocking lists on both Facebook and Instagram. The agency’s

keyword blocking has been used to hide comments containing any of two dozen words and phrases

closely associated with animal advocacy—words like “PETA,” “torture,” “hurt,” “monkey,” and

“primate”—and to this day still hides comments containing almost all of these words and phrases.

This viewpoint- and content-based keyword blocking is unconstitutional.

       Plaintiffs are entitled to summary judgment. There is no genuine issue of material fact here.

Instead, the parties’ joint stipulation includes the undisputed facts necessary to demonstrate that

the NIH’s keyword blocking violates the First Amendment because it discriminates on the basis

of viewpoint and is an unjustified content-based restriction on speech in a public forum.




                                                 1
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 8 of 48




       The NIH’s keyword blocking violates the prohibition against viewpoint-based exclusion

of speech in a public forum. The NIH created public forums when it opened public pages on

Facebook and Instagram—two of the most popular social media platforms—and used those pages

to communicate and interact with members of the public, and to facilitate public expression in the

comment threads associated with each post. The NIH’s practice of suppressing speech that

advocates against the NIH’s continued funding of animal testing violates the First Amendment.

This is the case even if NIH employees—or other users—find such speech, in their own view, to

be distasteful, annoying, or irrelevant. The First Amendment precludes government actors from

censoring speech in a public forum because of the viewpoint it espouses. See, e.g., Knight First

Amendment Inst. at Columbia Univ. v. Trump, 928 F.3d 226 (2d Cir. 2019), vacated as moot sub

nom. Biden v. Knight First Amendment Inst. at Columbia Univ., 141 S. Ct. 1220 (Mem.) (2021);

Davison v. Randall, 912 F.3d 666 (4th Cir. 2019).

       This keyword blocking would be unconstitutional even if it were not viewpoint-based. The

NIH’s keyword blocking is not an evenhanded content moderation practice—like, for example, a

content-neutral policy designed to prevent spam or reduce repetitive posts. Instead, the agency

singles out and suppresses comments relating to animal advocacy. This kind of content-based

discrimination is presumptively unconstitutional, and the NIH cannot overcome the presumption

here—first, because it cannot point to any compelling government interest that could support the

suppression of animal advocacy; second, because its woefully over- and under-inclusive keyword

blocking is not narrowly tailored to any interest it might assert; and third, because keyword

blocking is far more restrictive than other alternatives available to the NIH. Finally, the NIH’s

keyword blocking is so unreasonable that it would be unconstitutional even if the Court conceives

of the comment threads at issue as limited public forums or nonpublic forums.




                                                2
         Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 9 of 48




         For these reasons and those below, the Court should grant Plaintiffs’ motion for summary

judgment.

                                        Statement of Facts

I.       The NIH’s Facebook page and Instagram account

         The NIH is the primary agency of the federal government charged with performing and

supporting biomedical and behavioral research. Stip. ¶ 4, ECF No. 28.1 It has major roles in

training biomedical researchers and disseminating health information. Id. Since 2008, the NIH has

operated social media accounts, including a Facebook and an Instagram account, as a way to

“communicate and interact with citizens.” Id. ¶¶ 36–37.

         A.     The NIH’s Facebook page

         The NIH established its official Facebook “page” on October 14, 2008. Id. ¶ 37.2 The

“@nih.gov” page (the “NIH Facebook Page”) is registered as a “Government Organization” page,

and the page’s profile photo is the NIH logo. Id. The “Intro” section on the NIH Facebook Page

reads     “NIH...Turning    Discovery     Into    Health    ®.    Read     our    Privacy    Policy:

http://www.nih.gov/about/privacy.htm. Visit http://www.nih.gov for more information.” Id.

         The NIH Facebook Page is generally accessible to anyone with internet access, although

to see the entirety of the page, an individual needs to have a Facebook account. Id. ¶ 38.3 Any



     1
     Defendants in this case are Lawrence A. Tabak, Acting Director of the NIH, and Xavier
Becerra, Secretary of the U.S. Department of Health and Human Services (“HHS”). They are sued
in their official capacities for their managerial authority over the NIH’s practices. See Stip. ¶¶ 4–
5. The instant motion addresses only the NIH’s use of keyword blocking on its social media pages,
and not any practices of the HHS on its social media pages. See ECF No. 29.
     2
     A Facebook “page” is an account used by “businesses, brands, organizations, [or] public
figures.” Id. ¶ 8.
     3
    All internet users in the United States can generally access a selection of recent posts from all
public Facebook pages before they are required to sign-in or sign-up. Id. ¶ 9.


                                                 3
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 10 of 48




Facebook user can view the entirety of the NIH Facebook Page, including prior posts and

comments that other users have made responding to those posts. Id.4 As of February 2022,

approximately 565,515 Facebook users “followed” the NIH Facebook Page, allowing them to see

updates from the NIH in their own Facebook News Feeds. Id.

       The Facebook platform allows users like the NIH to post content, including writings, links,

photographs, and videos, for other Facebook users to see. Id. ¶ 6. A Facebook “post” is any

combination of text, images, videos, audio, or Internet hyperlinks published by a Facebook user

on the user’s Facebook page. Id. ¶ 11. Facebook users can also share content with others by going

“Live” through the Facebook Live feature, which allows page operators to stream video in real-

time for viewing by other users. Id. ¶ 12. The NIH uses the NIH Facebook Page to post agency-

related information and public health updates and to host Live videos with NIH employees and

researchers. Id ¶¶ 36, 62.

       Facebook users can respond to others’ posts—including Live videos—by commenting on

them. Id. ¶ 13. Comments can include the same type of content as Facebook posts, including text,

images, and hyperlinks. Id. Facebook users may also reply to other comments appended to a post

or to replies that have been posted by others. Id. The collection of replies and replies-to-replies is

sometimes referred to as a “comment thread.” Id. Any Facebook user can comment on a post or

comment made viewable to the public. Id. Users can also “react” to others’ posts by clicking the

“Like” button and selecting emojis corresponding to “Like,” “Love,” “Care,” “Haha,” “Wow,”

“Sad,” and “Angry.” Id. ¶ 14.




   4
    Any individual or organization that has created an account on the platform is a Facebook
“user.” Id. ¶ 7.


                                                  4
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 11 of 48




       Members of the public with Facebook accounts regularly use the NIH Facebook Page’s

comment feature to respond to the NIH’s posts and to communicate with other users about the

NIH’s policies and practices. Id. ¶ 39 & Exs. 1–6, ECF Nos. 28-1 to -6. NIH Facebook Page posts

frequently garner dozens of comments and replies to those comments, and many of them have

hundreds of comments and replies. Id. Below is an example of a post to the NIH Facebook Page

and three of the many comments and replies appended to the post:




See Ex. 1.


                                              5
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 12 of 48




       B.      The NIH’s Instagram account

       The NIH launched the Instagram account @nihgov (the “NIH Instagram Account”) on

January 23, 2018. Stip. ¶ 41. In the first post on the account, the NIH urged Instagram users to

“Follow us for cool science images, health tips, and a behind-the-scenes look at the nation’s top

biomedical research institute! #Followus #FirstPost #Health #Wellness #Science #research.” Id.;

see also Stip. Ex. 7, ECF No. 28-7. The NIH Instagram Account is registered as belonging to a

“Government Organization” and the page’s profile photo is the NIH logo. Stip. ¶ 42.

       The NIH Instagram Account is viewable by the public, meaning that a portion of the page

is generally accessible to anyone with Internet access until Instagram requires a log-in. Id. ¶ 43.5

Any Instagram user can see all of the previous posts, along with associated comments and replies,

on the account page. Id.6 As of February 2022, the NIH Instagram Account had approximately

206,000 followers. Id.

       Instagram is a platform for visual content, allowing users to share photos and videos and

respond to posts through likes or comments. Id. ¶ 21. An Instagram post is a discrete piece of

content that a user shares to the user’s profile page. Id. ¶ 25. A post on Instagram can be an image,

a video, or a collection of images or videos. Id. When a user shares an image or video, the user can

include a text-based caption that will be displayed alongside or underneath the post. Id. The NIH

uses its account to post content about the agency’s work, including interviews with NIH experts

and news about numerous NIH health campaigns, and public health updates. Id. ¶ 44.




   5
     As with Facebook, all internet users in the United States can generally access a selection of
recent posts from all public Instagram accounts before they are required to sign-in or sign-up.
Id. ¶ 23.
   6
    Any individual or organization that has created an account on the platform is an Instagram
“user.” Id. ¶ 22.


                                                 6
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 13 of 48




        Instagram users can comment on posts and reply to other comments. Id. ¶ 28. The author

of a post may also comment or respond to comments in the comment thread. Id. In addition to

commenting on posts, users may “like” posts by clicking on the heart-shaped button next to the

image. Id. ¶ 29.

        As with the NIH Facebook Page, members of the public with Instagram accounts regularly

use the NIH Instagram Account’s comment feature to respond to the NIH’s posts and to

communicate with other users about the NIH’s policies and practices. Id. ¶ 45 & Exs. 7–11, ECF

Nos. 28-7 to -11. Some of the NIH’s posts to its Instagram Account have received over one

hundred comments, including both positive and negative responses. Stip. ¶ 45. Below is an

example of a post to the NIH Instagram Account and some of the comments and replies appended

to the post:




See Ex. 7.




                                              7
          Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 14 of 48




II.       The NIH’s use of keyword blocking to suppress animal advocacy

          The NIH has chosen to use optional keyword blocking features offered by both Facebook

and Instagram to prevent comments containing certain words associated with animal testing from

appearing publicly on the NIH Facebook Page and Instagram Account.

          A.     Facebook and Instagram’s filtering and blocking options

                 1.     Facebook

          Administrators of Facebook pages can restrict comments that appear on their posts by using

Facebook’s opt-in moderation tools, including keyword blocking. Stip. ¶ 16. Page administrators

may, for example, prevent comments that contain profanity from appearing on the page by turning

on Facebook’s built-in “profanity filter.” Id. Administrators may also choose their own lists of

words or phrases that they wish to restrict from appearing in comments posted on their page. Id.

When a page administrator adds a word to this list, any past or future comments containing the

word will automatically be hidden from public view. Id. Although a hidden comment remains

visible to the user who posted it and to the user’s Facebook “friends,”7 other Facebook users

viewing the page are unable to read or engage with the comment. Id. Facebook refers to the practice

of hiding comments containing certain keywords from view as “blocking.” Id.

          Page administrators may also block individual comments either by manually “hiding”

them, or by deleting them from the comment threads associated with their posts. Id. ¶ 17. Manually

hidden comments remain visible to the user who posted the comment and that user’s friends, but

other individuals viewing the page are unable to read or engage with the comment. Id. Deleted

comments are removed from the page altogether, and neither the Facebook user who posted the



      7
    Individual Facebook users can connect with other users by “friending” them; these connected
users are called Facebook “friends.” Id. ¶ 7.


                                                  8
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 15 of 48




comment nor the user’s Facebook friends may view it. Id. Typically, the user whose comment has

been hidden or deleted by a page administrator does not receive notice of these moderation actions.

Id. ¶ 18.

        In addition to making customizable comment moderation options available to a page

administrator, Facebook itself also engages in certain content moderation on a platform-wide basis.

Id. ¶ 20. The Facebook Community Standards outline the types of content that may be demoted,

hidden, or deleted by Facebook on its own accord. Id. Examples of information that Facebook

itself may remove include content that incites or facilitates serious violence, coordinating harm

and publicizing crime, hate speech, spam, imagery of dead people, or fraud and deception. Id.

Facebook notifies users when their posts or comments have been removed for violating its

community standards. Id.

               2.     Instagram

        Instagram also allows account holders to use keyword blocking to automatically control

the content of the comments on their posts. Id. ¶ 30. Instagram’s “Custom Words and Phrases”

function permits account holders to automatically hide all comments containing specified words

or phrases. Id. Thus, if an account holder designates the word “testing” as a custom hidden word

on the account holder’s page, any comment containing that word should automatically be hidden

from public view as soon as it is posted. Id. The hidden comment will be visible only to the user

who posted it and to the account holder if they choose to “view hidden comments.” Id. No other

user, including users who follow the comment’s author, will be able to see, reply to, or engage

with the hidden comment. Id.

        Account holders may also hide comments that contain any keyword in a list of default

keywords created and maintained by Instagram. Id. ¶ 31. The “Hide Comments” function is on by




                                                9
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 16 of 48




default, and automatically hides comments containing common offensive words, phrases, or

emojis found in posts flagged by Instagram as violating its terms of service. Id. Unlike comments

filtered under the “Custom Words and Phrases” function, comments automatically hidden under

the “Hide Comments” function do not disappear completely for all users. Id. Rather, any user can

view these comments by scrolling to the bottom of a post’s comments section and clicking on a

“view hidden comments” button. Id. Instagram users are not notified when their comments have

been hidden or filtered. Id. ¶ 34. Because these comments remain visible to the user making them,

users will generally be unaware that their comments are invisible to others. Id.

       Instagram itself also engages in certain content moderation. The Instagram Community

Guidelines outline the types of content that may be removed by Instagram of its own accord.

Id. ¶ 35. Examples of information that Instagram itself may remove include content that incites or

facilitates violence, hate speech, and spam. Id. These comments are automatically removed by

Instagram and are not viewable by users. Id. Instagram notifies users when their posts or comments

have been removed for violating its community standards. Id.

       B.      The NIH’s use of Facebook’s and Instagram’s keyword blocking features

       The NIH has used the social media platforms’ optional filtering features to block comments

containing words associated with animal rights advocates and their criticism of the NIH’s funding

of animal testing. The NIH had never publicly stated that it used keyword blocking to hide animal

advocacy, but on April 29, 2021, in response to a Freedom of Information Act (“FOIA”) request

filed by Plaintiff Ryan Hartkopf, the NIH provided lists of blocked keywords on the NIH Facebook

Page and Instagram Account, which included the following words and phrases:




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        Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 17 of 48




                   Facebook                                          Instagram
             PETA, PETALatino                                          PETA
               Suomi,8 Harlow9                                   #stopanimaltesting
         Animal(s), animales, animalitos                            #stoptesting
                   Cats, gatos                                 #stoptestingonanimals
           Chimpanzee(s), chimp(s)                                    Animal(s)
                  Hamster(s)                                  Chimpanzee(s), chimps
                 Marmoset(s)                                        Monkey(s)10
             Monkey(s), monkies                                      Experiment
                 Mouse, mice                                          Hurt(ing)
                   Primate(s)                                            Kill
               Sex experiments                                          Stop
                 Cruel, cruelty                               Test(ing), testing facility
                   Revolting                                         Tortur(ing)
                 Torment(ing)
             Torture(s), torturing


Id. ¶ 58. As a result of the NIH’s use of the platforms’ keyword blocking features, any user who

attempts to post a comment containing any prohibited words to the NIH Facebook Page or the NIH

Instagram Account will have their comments automatically hidden from public view. See

id. ¶¶ 16, 30.

        The NIH also uses keyword blocking to automatically hide comments containing certain

profane and racist terms, names of certain illicit drugs, domains of other websites or applications,


   8
    Stephen J. Suomi is currently the Chief of the Laboratory of Comparative Ethology at the
Eunice Kennedy Shriver National Institute of Child Health and Human Development. Id. ¶ 58 n.9.
He has conducted extensive research on behavioral development by researching on monkeys and
other nonhuman primates. Id. PETA led an extensive public campaign related to Dr. Suomi’s work,
which involved animal experiments. Id.
   9
      Harry Harlow was an American psychologist known for conducting maternal deprivation
experiments on monkeys to determine how early environment shapes their behavior. Id. ¶ 58 n.10.
The Harlow Center on Biological Psychology, named for Mr. Harlow, is affiliated with the
Wisconsin National Primate Research Center and houses the monkeys and nonhuman primates
used in experiments. Id. After Dr. Harlow died in 1981, PETA campaigned against the NIH’s
continuation of his work and frequently mentions Dr. Harlow in its advocacy against animal
testing. Id.
   10
    The NIH’s listed of blocked keywords on Instagram also includes two emojis depicting
monkeys and an emoji with an expletive face. Id. ¶ 58 n.11.


                                                11
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 18 of 48




and the term #believemothers. Id. ¶ 59; Compl. Attachs. 1 & 2, ECF Nos. 1-1 to -2. The NIH has

also activated Facebook’s and Instagram’s optional profanity filters. Stip. ¶¶ 56–57.

       On December 3, 2021, after this lawsuit was filed, and while the parties were drafting the

joint stipulation of facts, the NIH removed “PETA” and “PETALatino” from its list of blocked

keywords on Facebook, and removed “PETA” from its list of blocked keywords on Instagram.

Id. ¶ 60. On December 7, 2021, the NIH also removed “#stopanimaltesting,” “#stoptesting,” and

“#stoptestingonanimals” from its list of blocked keywords on Instagram. Id. All other terms listed

on the NIH’s April 29, 2021 FOIA response remain blocked. Id.; Compl. Attachs. 1 & 2.

       C.      The NIH’s comment moderation policies and practices

       Since March 30, 2015, the NIH has published guidelines on its official website for

commenting on its social media accounts. Stip. ¶¶ 51–52 & Ex. 19, ECF No. 28-19; see also NIH

Comment Guidelines, Nat’l Institutes of Health (Mar. 13, 2019), https://perma.cc/W9A9-2CP9.

The comment guidelines “encourage” members of the public “to share [their] thoughts and ideas”

on any NIH-administered social media account or website “where commenting is supported.” Ex.

19. The NIH asserts in its guidelines that its social media accounts and websites “are not intended

to serve as public forums.” Id. Seeking to “encourage respectful and constructive dialogue,” the

guidelines prohibit comments that include, among other things, “[v]ulgar, obscene, profane,

threatening, or abusive language,” “[d]iscriminatory language,” “[e]ndorsements of commercial

products,” “[r]epetitive posts,” “[s]pam,” and “[o]ff-topic” content. Id.

       At the time the Complaint was filed, the NIH Facebook Page and Instagram Account did

not link to the NIH’s comment guidelines. Stip. ¶ 53. The NIH changed its practice after this

litigation began, and as of January 7, 2022, the NIH Facebook Page and the NIH Instagram

Account provide links to the guidelines. Id. The NIH Facebook Page and Instagram Account also




                                                 12
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 19 of 48




provide links to a separate “Web Policies and Notices” page, in which the NIH states that “as a

practice, comment moderator policy requires the removal from NIH Facebook pages of any

comments that contain spam or are improper, inflammatory, off-topic or offensive.” Id. ¶ 54; see

also Web Policies and Notices – Privacy Policy – How NIH.gov Uses Third-Party Web Sites and

Applications – Facebook, Nat’l Institutes of Health (Jan. 14, 2021), https://perma.cc/BC7R-

ZFME.

        Keyword blocking is the NIH’s principal form of content moderation. Stip. ¶ 61. The NIH

does not manually review comments before they are posted, and it engages in only limited efforts

to hide or delete comments after they have been posted. Id. In other words, if a comment contains

a blocked keyword, it will automatically be hidden from public view. Id. ¶¶ 16, 30. All other

comments are almost never hidden or deleted. Id. ¶ 61.

III.    The NIH’s suppression of Plaintiffs’ speech on the NIH Facebook Page and
        Instagram Account

        A.     Plaintiffs’ use of social media to advocate against animal testing

        Plaintiff People for the Ethical Treatment of Animals, Inc. (“PETA”) is a nonprofit

dedicated to establishing and defending the rights of all animals. Id. ¶ 1. PETA frequently launches

social media campaigns in order to raise awareness of animal testing practices and of the

government’s funding of animal testing. Id. ¶ 88. One of PETA’s current campaigns focuses on

the NIH and the National Institute of Mental Health (NIMH) for its funding of primate testing,

including monkey experiments conducted by NIMH scientist Elisabeth Murray. Id. ¶ 1. As part of

this campaign, PETA employees and members have sought to advocate on the NIH’s social media

pages for the end of primate testing. Id. Commenting directly on the NIH Facebook Page and

Instagram Account allows PETA to reach new audiences who may be unaware of the NIH’s role

in the continuation of animal testing and to demonstrate the size and passion of the animal rights


                                                13
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 20 of 48




movement. Id. ¶ 88. Many PETA employees and members follow the NIH’s social media pages

and frequently attempt to engage with users in the comments section of the NIH Facebook Page

and Instagram Account. Id. ¶¶ 70, 88.

       Plaintiff Madeline Krasno, who resides in Oakland, California, is a former animal research

technician turned animal rights advocate. Id. ¶ 2. As a student at the University of Wisconsin, Ms.

Krasno studied zoology and worked as a student primate caretaker at the Harlow Center for

Biological Psychology. Id. Her firsthand experience with primate testing led her to conclude that

animal testing is immoral and compelled her to publicly share the details of her experiences. Id.

Ms. Krasno seeks to contribute to the public discourse on animal testing in part by drawing

attention to the NIH’s funding of National Primate Research Centers. Id. One way Ms. Krasno

seeks to bring attention to the NIH’s involvement in animal testing is through social media

advocacy: she maintains an Instagram account and a Facebook profile and frequently comments

on the NIH Facebook Page and Instagram Account to advocate against animal testing. Id ¶¶ 2, 89.

Ms. Krasno believes it is vital that the NIH’s supporters and followers understand how animals,

like the primates she cared for, are treated in laboratories directly funded by the NIH. Id. ¶ 89. She

also shares her views about the limited effectiveness of animal testing, and the many other research

endeavors the NIH could support if it did not fund animal testing. Id.

       Plaintiff Ryan Hartkopf, who resides in Madison, Wisconsin, is an engineer in the digital

health field. Id. ¶ 3. He operates an Instagram account under the handle @ryanhartkopf, and he

maintains a Facebook profile under the name Ryan Hartkopf. Id. Mr. Hartkopf’s opposition to

animal testing stems from 2018, when he moved to Madison and started passing the Wisconsin

National Primate Research Center (“WNPRC”) on his way to work. Id. Mr. Hartkopf began to

learn more about the WNPRC through videos he found on Facebook and PETA campaigns. Id.




                                                 14
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 21 of 48




After viewing a post that Ms. Krasno made on Facebook describing her past work at the Harlow

Center and her goal of shutting down the lab, Mr. Hartkopf reached out to Ms. Krasno to connect

and offer his assistance. Id. Since then, he has begun commenting on the NIH Facebook Page and

Instagram Account to engage with others who have a mutual interest in scientific research about

animal testing, and to signal to potential whistleblowers that activists would support them if they

decided to speak out. Id. ¶ 90.

       B.       The NIH’s blocking of Plaintiffs’ speech from its social media accounts

                1.     PETA

       Between September 24, 2020 and May 27, 2021, PETA employee Evelyn Wagaman tried

to participate in discussion in comment threads on the NIH Facebook Page, but was largely

prevented from doing so. Id. ¶¶ 63–65. As detailed below, many of Ms. Wagaman’s comments

contained the words “cruel,” “monkey,” “primates,” and “animal”—all of which are on the NIH’s

list of blocked keywords on Facebook:

            •   On September 24, 2020, Ms. Wagaman was prevented from posting three
                comments on a Facebook Live video on the NIH Facebook Page about
                COVID-19 vaccine research. One read, “Francis Collins, we appreciate all
                your hard work to search for a COVID vaccine, but why is NIH still wasting
                money on cruel and ineffective monkey fright experiments?” Id. ¶ 63 & Ex.
                20, ECF No. 28-20.

            •   On October 8, 2020, Ms. Wagaman was prevented from posting several
                comments on an NIH Facebook Live video about gene editing, including:
                “Congratulations, Dr. Doudna! Francis Collins, please end NIH’s fright
                experiments on primates;” and “CRISPR can be used for advanced, non-
                animal experiments. In light of the many non-animal technologies that are
                developing, how can NIH continue to conduct experiments on macaques
                and other primates?” Stip. ¶ 64 & Ex. 22, ECF No. 28-22.

            •   On May 27, 2021, Ms. Wagaman posted several comments on an NIH
                Facebook Live video featuring Dr. Kizzmekia Corbett, including: “Thank
                you, Dr. Corbett and Dr. Collins, for your hard work on the COVID
                vaccines! Why is the NIH still wasting funds on Elisabeth Murray’s monkey
                fright experiments instead of investing more in important clinical research



                                                15
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 22 of 48




               about COVID-19?” Stip. ¶ 65 & Ex. 24, ECF No. 28-24. Although they
               were posted, the comments were hidden from public view. Id.; compare Ex.
               24, with Stip. Ex. 25, ECF No. 28-25.

        Ms. Wagaman did not receive any explanation for why her comments were blocked.

Stip. ¶¶ 63–65. Another PETA employee, Brittny Hopwood, began to post a series of comments

to NIH Facebook Page posts to understand whether the NIH was blocking words associated with

PETA and its animal testing advocacy. Id. ¶ 66 & Ex. 26, ECF No. 28-26, ¶ 67 & Ex. 28, No. 28-

28. Most of Ms. Hopwood’s comments, including those containing words like “PETA,”

“TORTURE,” and “torment,” were hidden from public view. Id.; compare Ex. 26, and Ex. 28,

with Stip. Ex. 27, ECF No. 28-27, and id. Ex. 29, ECF No. 28-29.

        PETA employees have occasionally advocated for animal rights in comments posted to the

NIH Facebook Page by modifying the spelling of certain words or by replacing blocked words

with words conveying similar meanings, although they find doing so makes their comments less

effective. Id. ¶¶ 68, 88. For example, on October 16, 2020, Ms. Wagaman wrote comments on an

NIH Facebook Live video about COVID-19 treatment, including: “Francis Collins, thank you for

your hard work finding a vaccine for COVID-19. In light of the urgency of devoting resources to

find a vaccine and the ineffectiveness of experiments on an1mals, will you please end the fright

expts on macaques of Elisabeth Murray?” Id. ¶ 68 & Ex. 30, at *5 (Evelyn Wagaman’s comment),

ECF No. 28-30. These comments were not hidden or filtered, and were viewable by Facebook

users. Id.

        As a result of the NIH’s use of keywords to deter speech related to animal research from

appearing on its social media accounts, PETA is restricted in its ability to express its views, using

a natural choice of words, about animal testing in comments on the NIH Facebook Page. Id. ¶ 88.

PETA’s interest in engaging with and reading the comments of other animal rights advocates on

the NIH Facebook Page is also burdened by the NIH’s use of keyword blocking. Id.


                                                 16
      Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 23 of 48




              2.     Madeline Krasno

       Ms. Krasno also had her comments to the NIH Facebook Page and Instagram Account

hidden from public view because the comments contained the words “animal(s),” “testing,”

“torturing,” “torture,” and “Harlow”—words the NIH has chosen to block:

          •   On April 29, 2021, Ms. Krasno commented on an NIH Instagram post about
              a study on Alzheimer’s disease treatment that was conducted on mice. Ms.
              Krasno wrote, “It’s pretty messed up that you block conversation about
              animal testing.” Stip. ¶ 72 & Ex. 31, ECF No. 28-31. This comment was
              hidden from public view. Id.; compare Ex. 31, with Stip. Ex. 32, ECF No.
              28-32.

          •   On May 3, 2021, Ms. Krasno commented on an NIH Instagram post
              showing a cell infected with COVID-19, writing, “It’s time we had an open
              conversation about all the animal testing you fund. What a waste of life and
              resources.” Stip. ¶ 73 & Ex. 33, ECF No. 28-33. This comment was hidden
              from public view. Id.; compare Ex. 33, with Stip. Ex. 34, ECF No. 28-34.

          •   On May 5, 2021, Ms. Krasno commented on an NIH Instagram post about
              Public Service Recognition Week 2021, saying, “If you’re wanted to
              actually extend life and reduce illness and disability, you’d directly put
              funding in the hands of those who need it now and stop wasting billions of
              dollars torturing animals in labs throughout the US like @uwmadison.”
              Stip. ¶ 74 & Ex. 35, ECF No. 28-35. This comment was hidden from public
              view. Id.; compare Ex. 35, with Stip. Ex. 36, ECF No. 28-36.

          •   On May 6, 2021, Ms. Krasno posted substantially the same comment on a
              similar NIH Facebook post about Public Service Recognition Week 2021.
              Stip. ¶ 75. She wrote, “@National Institutes of Health (NIH), If you actually
              wanted to extend life and reduce illness and disability, you’d directly put
              funding in the hands of those who need it now and stop wasting billions of
              dollars torturing animals in labs throughout the US like @University of
              Wisconsin-Madison.” Id. & Ex. 37, ECF No. 28-37. This comment was
              hidden from public view. Id.; compare Ex. 37, with Stip. Ex. 38, ECF No.
              28-38.

          •   On May 29, 2021, Ms. Krasno commented on an NIH Instagram post about
              diversity in science. Stip. ¶ 76. She wrote, “How about the victims of
              ‘science’? Going to highlight them too? Why are you still funneling billions
              of dollars into animal testing? Its archaic, unsuccessful, and cruel.
              @nihgov.” Id. & Ex. 39, ECF No. 28-39. This comment was hidden from
              public view. Id.; compare Ex. 39, with Stip. Ex. 40, ECF No. 28-40.




                                               17
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 24 of 48




            •    On June 13, 2021, Ms. Krasno commented on the NIH Facebook Page,
                 writing, “I was diagnosed with PTSD after working at @University of
                 Wisconsin-Madison’s Harlow Primate Lab which receives funding from
                 you, the @National Institutes of Health (NIH), to torture animals in the
                 name of science. Its despicable that you continue to harm animals and call
                 it progress when so many people are without the means to access mental
                 healthcare, general healthcare, and medication that already exists.”
                 Stip. ¶ 77 & Ex. 41, ECF No. 28-41. This comment was hidden from public
                 view. Id.; compare Ex. 41, with Stip. Ex. 42, ECF No. 28-42.

        Ms. Krasno has occasionally advocated for animal rights in comments on the NIH

Instagram Account by modifying the spelling and spacing of certain words, although she finds

doing so difficult and burdensome. Stip. ¶¶ 78, 89. For example, on April 29, 2021, she

commented, “Ok let me try again. It’s pretty messed up that you block any conversation about a n

I m a l t e s t I n g.” See Ex. 32, at *3 (madeline_krasno’s comment). This comment was not hidden

from view. Id.; see also Ex. 42, at *3 (Madeline Krasno’s comment) (same).

        As a result of the NIH’s use of keywords to deter speech related to animal research from

appearing on its social media accounts, Ms. Krasno is restricted in her ability to express her views,

using a natural choice of words, about animal testing in comments on the NIH Facebook Page and

NIH Instagram Account. Stip. ¶ 89. Ms. Krasno follows the NIH on Instagram and Facebook.

Id. ¶ 79. Her interest in engaging with and reading the comments of other animal rights advocates

on the NIH’s social media accounts is also burdened by the NIH’s use of keyword blocking.

Id. ¶¶ 79, 89.

                 3.     Ryan Hartkopf

        Mr. Hartkopf also had his comments to the NIH Facebook Page and Instagram Account

hidden from public view because they contained words on the NIH’s blocked keywords lists:

            •    On April 24, 2021, Mr. Hartkopf commented on an April 23, 2021 @nihgov
                 Instagram post about “National DNA Day” by stating, “The Wisconsin
                 NPRC is a disgrace. I personally know 2 former employees who were
                 traumatized by their experience as primate caretakers. There is no humane



                                                 18
      Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 25 of 48




              way to keep 1,650 primates in small steel cages for decades without
              inflicting massive psychological damage. On top of that, the University of
              Wisconsin has banned any keywords regarding primate testing on their
              social media pages, meaning any opposition on social media is
              automatically silenced. They also delete the testimonials of former
              employees. Why go to all that trouble to silence their own alumni if
              everything is above-board? We need to reinvest in human-relevant, modern
              research instead of this barbaric and archaic practice, which does not yield
              cures to our most deadly diseases!” Id. ¶ 80. After checking the post using
              a different Instagram account and seeing that the comment was not publicly
              viewable, Mr. Hartkopf deleted this comment. Id.

          •   Mr. Hartkopf also attempted to write a series of one-word comments on an
              NIH Instagram post dated January 28, 2021. Id. ¶ 81. Mr. Hartkopf
              commented, “test,” “monkeys,” “experiments,” “peta,” “experimenting,”
              “torture,” and “testing.” Id. & Ex. 44, ECF No. 28-44. All of these
              comments were hidden, except for the terms “experiments” and
              “experimenting,” which could only be accessed by a user who selected
              “view hidden comments” for the post. Id.; compare Ex. 44, with Stip. Ex.
              45, ECF No. 28-45.

          •   Mr. Hartkopf also attempted to post a series of one-word comments to an
              NIH Facebook post on IVF conception. Stip. ¶ 82. Mr. Hartkopf wrote,
              “peta,” “primate,” “primates,” “monkey,” “monkeys,” “torture,”
              “torturing,” “tortures.” Id. ¶ 82 & Ex. 46, ECF No. 28-46. All of these
              comments were hidden from public view. Id.; compare Ex. 46, with Stip.
              Ex. 47, ECF No. 28-47.

          •   On April 29, 2021, Mr. Hartkopf wrote a comment to an NIH Instagram
              post about treatment for antibiotic-resistant infections. Stip. ¶ 83. He
              commented, “The Wisconsin NPRC is a disgrace. I personally know 2
              former employees who were traumatized by their experience as primate
              caretakers. There is no humane way to keep 1,650 primates in small steel
              cages for decades without inflicting massive psychological damage. On top
              of that, the University of Wisconsin has banned any keywords regarding
              primate testing on their social media pages, meaning any discourse on social
              media is automatically silenced. They also delete the testimonials of former
              employees. Why go to all that trouble to silence their own alumni if
              everything is above-board? We need to reinvest in human-relevant, modern
              research instead of this barbaric and archaic practice, which does not yield
              cures to our most deadly diseases!” Id. & Ex. 48, ECF No. 28-48. This
              comment was hidden from public view. Id.; compare Ex. 48, with Stip. Ex.
              49, ECF No. 28-49.

       To confirm that the NIH was preventing comments with certain keywords from being

viewed, Mr. Hartkopf filed a FOIA request with the NIH on April 24, 2021, seeking “a screenshot


                                              19
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 26 of 48




of all keywords that are blocked” on the NIH Facebook Page and Instagram Account. Stip. ¶ 84.

On April 29, 2021, Mr. Hartkopf received the records responsive to his FOIA request and

confirmed that the NIH had blocked several keywords associated with animal testing from

appearing in comments on its Facebook Page and Instagram Account. Id.

        Mr. Hartkopf has occasionally advocated for animal rights in comments by modifying the

spelling and spacing of certain words, although he finds that process burdensome. Id. ¶¶ 85, 90.

For example, on June 17, 2021, he commented on an NIH Facebook post, “it’s ironic that this

Facebook page is full of spam and porn links, but the admin only uses keyword blocking to hide

comments about testing on a n I m a l s.” Id. ¶ 85 & Ex. 50, at *2 (Ryan Hartkopf’s comment),

ECF No. 28-50. This comment remains publicly viewable by Facebook users. Id.

        As a result of the NIH’s use of keywords to deter speech related to animal testing from

appearing on its social media accounts, Mr. Hartkopf is restricted in his ability to express his views,

using a natural choice of words, about animal testing in comments on the NIH Facebook Page and

NIH Instagram Account. Stip. ¶ 90. Mr. Hartkopf follows the NIH on Instagram and Facebook.

Id. ¶ 86. His interest in engaging with and reading the comments of other animal rights advocates

on the NIH’s social media accounts is also burdened by the NIH’s use of keyword blocking.

Id. ¶¶ 86, 90.

                                        Standard of Review

        Summary judgment is appropriate where a moving party shows that “there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). Motions for summary judgment are analyzed in the light most favorable to the non-

moving party. See Hall & Assocs. v. Env’t Prot. Agency, 956 F.3d 621, 630 (D.C. Cir. 2020).




                                                  20
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 27 of 48




                                           Argument

I.     The comment threads on the NIH Facebook Page and Instagram Account are
       designated public forums under the First Amendment.

       The comment threads of the NIH Facebook Page and Instagram Account are public forums

designated “for the robust exercise of First Amendment activity by the general public.” Hodge v.

Talkin, 799 F.3d 1145, 1161 (D.C. Cir. 2015). The NIH has chosen to open a public Facebook

page and an Instagram account—social media accounts that are unquestionably compatible with

expressive activity. Its posts are open to the public, as are its comment threads—the NIH allows

any Facebook or Instagram user to comment on any post. Apart from its keyword blocking,

targeted primarily at Plaintiffs and others who advocate for an end to animal testing, the comment

threads are generally open to public discourse on any subject, in any manner. These comment

threads are therefore designated public forums.

       A.      Overview of public forum doctrine

       A public forum is established when the government makes space that it owns or operates

available for speech by members of the public. See Cornelius v. NAACP Legal Def. & Educ. Fund,

Inc., 473 U.S. 788, 801 (1985); Se. Promotions, Ltd. v. Conrad, 420 U.S. 546, 555 (1975); see also

Davison, 912 F.3d at 683 (“[T]he Supreme Court and lower courts have held that private property,

whether tangible or intangible, constituted a public forum when, for example, the government

retained substantial control over the property under regulation or by contract.”). The forum may

be physical, or it may be “metaphysical,” Rosenberger v. Rector and Visitors of Univ. of Va., 515

U.S. 819, 830 (1995), such as a “channel of communication,” Cornelius, 473 U.S. at 802, or a

funding stream, Perry Educ. Ass’n. v. Perry Local Educators’ Ass’n, 460 U.S. 37, 46–47 (1983).

       Public forum analysis generally “divides government property into three categories.”

Zukerman v. U.S. Postal Serv., 961 F.3d 431, 447 (D.C. Cir. 2020) (quoting Initiative &


                                                  21
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 28 of 48




Referendum Inst. v. U.S. Postal Serv., 685 F.3d 1066, 1070 (D.C. Cir. 2012)). First, traditional

public forums, which include sidewalks and parks, are forums that have been used

“immemorially . . . for purposes of assembly, communicating thoughts between citizens, and

discussing public questions.” McCullen v. Coakley, 573 U.S. 464, 476 (2014) (quoting Pleasant

Grove City v. Summum, 555 U.S. 460, 469 (2009)). Second, the government can create a public

forum by “designation of a place or channel of communication for use by the public at large for

assembly and speech.” Cornelius, 473 U.S. at 802. Limited public forums, a subset of designated

public forums, are spaces the government has opened for expressive activity “for certain groups

or for the discussion of certain topics.” Walker v. Tex. Div., Sons of Confederate Veterans, Inc.,

576 U.S. 200, 215 (2015) (quoting Rosenberger, 515 U.S. at 829). Finally, nonpublic forums exist

“[w]here the government is acting as a proprietor, managing its internal operations.” Id. (quoting

Int’l Soc. for Krishna Consciousness, Inc. v. Lee, 505 U.S. 672, 678–79 (1992)).

       The level of scrutiny applicable to speech restrictions in public forums depends on the type

of forum the government has created. Zukerman, 961 F.3d at 447 (citing Am. Freedom Def.

Initiative v. Wash. Metro. Area Transit Auth., 901 F.3d 356, 364 (D.C. Cir. 2018)). Speech

restrictions that discriminate based on viewpoint are unconstitutional in any type of forum,

including nonpublic ones. Matal v. Tam, 137 S. Ct. 1744, 1763 (2017); Rosenberger, 515 U.S. at

829. For both traditional public forums and designated public forums, speech regulations that

discriminate based on content are subject to strict scrutiny. McCullen v. Coakley, 573 U.S. 464,

478 (2014); Perry Educ. Ass’n, 460 U.S. at 45. In limited public forums and nonpublic forums,

content-based speech restrictions must be viewpoint-neutral and “reasonable in light of the

purposes served by the forum.” Cornelius, 473 U.S. at 806.




                                               22
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 29 of 48




       B.      The comment threads are designated public forums.

       To determine whether the government has created a designated public forum, courts in the

D.C. Circuit look to “the nature of the property, its compatibility with expressive activity, and the

consistent policy and practice of the government.” Bryant v. Gates, 532 F.3d 888, 896 (D.C. Cir.

2008) (quoting Stewart v. D.C. Armory Bd., 863 F.2d 1013, 1016–17 (D.C. Cir. 1988)). An

examination of those factors in this case demonstrates that the NIH has intentionally opened the

comment threads on its Facebook Page and Instagram Account to wide-ranging speech by

members of the general public, thereby creating designated public forums.

       First, the “nature of the property” at issue is the interactive component of the NIH Facebook

Page and Instagram Account—that is, the comment threads. As the Supreme Court has explained,

when “limited access is sought . . . cases have taken a . . . tailored approach to ascertaining the

perimeters of a forum within the confines of the government property.” Cornelius, 473 U.S. at 801

(defining the relevant forum as the combined federal campaign charity drive rather than the federal

workplace). Plaintiffs here do not assert that the NIH’s social media accounts are public forums in

their entirety—to the contrary, the NIH’s own posts are plainly government speech. The Court’s

analysis must therefore focus not on the social media accounts as a whole but on the comment

threads in particular. See Davison, 912 F.3d at 687 (distinguishing between the “interactive

component” of a Facebook page and the account holder’s “curation of and posts to” the Facebook

page, which “amount to government speech”); see also Knight First Amendment Inst., 928 F.3d at

234 (referring to the “interactive space” of the president’s Twitter account).

       Second, the comment threads are plainly compatible with expressive activity. As the

Supreme Court explained in Packingham v. North Carolina, social media “offers relatively

unlimited, low-cost capacity” for “a wide array of protected First Amendment activity on topics




                                                 23
        Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 30 of 48




as diverse as human thought.” 137 S. Ct. 1730, 1735–36 (2017) (cleaned up). Meta, the parent

company of Facebook and Instagram, holds both platforms out as sites of expressive activity for

members of the public. See Facebook Community Standards, Meta, https://perma.cc/UM3D-

MSZK (explaining that Facebook is “a service for more than 2 billion people to freely express

themselves”); Community Guidelines, Instagram Help Center, https://perma.cc/YC88-XQBH?

type=image (explaining that Instagram is “an authentic and safe place for inspiration and

expression”).11 For this reason, numerous courts have concluded that government-run social media

pages are compatible with expressive activity. See Davison, 912 F.3d at 682 (“The Chair’s

Facebook Page also is ‘compatib[le] with expressive activity.’” (quoting Cornelius, 473 U.S. at

802)); Felts v. Reed, 504 F. Supp. 3d 978, 986 (E.D. Mo. 2020) (“Twitter accounts are compatible

with expressive activity because they are interactive and constitutents use these accounts to engage

with their representatives.”); One Wisc. Now v. Kremer, 354 F. Supp. 3d 940, 953 (W.D. Wisc.

2019) (same).

        Third, NIH’s “consistent policy and practice” of making the comment threads on the NIH

Facebook Page and Instagram Account available for speech by members of the public—without

restriction as to speaker or subject matter—demonstrates that NIH has intentionally designated

them as public forums. The NIH did not open social media pages on Instagram and Facebook by

accident. Rather, the NIH intentionally uses social media “to communicate and interact with

citizens.” Stip. ¶ 36. It regularly posts on both platforms on a wide array of topics of interest to the

public, from COVID-19 treatment to maternal mortality to family care to research into new

medical treatments. See, e.g., Ex. 1; Ex. 2; Ex. 27; Ex. 32. Its posts are public, meaning that any



   11
     The parties agree that the Court may take judicial notice of Facebook’s Community Standards
and Instagram’s Community Guidelines. See Stip. ¶¶ 21 n.2, 35 n.5.


                                                  24
        Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 31 of 48




member of the public can view recent posts, and any Facebook or Instagram user can view all of

the NIH’s posts, regardless of whether they “follow” the pages. Stip. ¶¶ 38, 43. And the NIH has

allowed anyone with a Facebook or Instagram account to comment on its posts, see id. ¶¶ 9, 28,

38, 43, forgoing the option of disabling the comments features—an option that would allow the

NIH to use its social media accounts as one-way channels for its own message, see How do I adjust

who     can   comment    on   my    public   posts    on   Facebook?,    Facebook    Help    Center,

https://perma.cc/R4EF-WSC4; How do I turn comments on or off for my Instagram posts?,

Instagram Help Center, https://perma.cc/B5GL-KHSB?type=image.12

        Members of the public do, in practice, use the commenting feature extensively, speaking

on a wide array of topics in the comment threads. Comments on the NIH’s pages frequently

address, for example, medical research and COVID-19. E.g., Ex. 25 at *2 (Amritha Maharaj

Soorujlall’s comment) (“What are the side effects of pfizer first dose.”). Some comments raise

issues of biomedical ethics. E.g., id. Ex. 43 at *6 (prettynpixels’s comment) (“Because of the racial

prejudices that initially prevented her acknowledgement, it is important to educate people and

create more awareness about the story of Ms. [Henrietta] Lacks, her relationship to HeLa cells,

and the contributions and benefits of HeLa cells to medical research.”); id. Ex. 52 at *11 (Dulcy

Morais’s comment), ECF No. 28-52 (“Check FDA board of directors and count how many names

you can connect to NIH and pharma cartel . . . .”). Other comments discuss politics. E.g., Ex. 21

at *9 (Buffi Wright’s comment) (“Can’t trust any of these government agencies under



   12
     The Court may take judicial notice of information contained in Facebook’s and Instagram’s
help centers. Stip. ¶¶ 4 n.1, 10 n.3. As the Facebook help center article makes clear, page
administrators can effectively disable comments by modifying their settings so that only Facebook
“Profiles and Pages” tagged in a post may comment on the post, and then refraining from tagging
any Profiles or Pages in the post. See How do I adjust who can comment on my public posts on
Facebook?, Facebook Help Center, https://perma.cc/R4EF-WSC4.


                                                 25
        Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 32 of 48




Trump.[]Sold to the highest bidder and corrupt Republican cultists”). And there are more still that

address users’ concerns or views on totally different topics. E.g., Ex. 5 at *3 (Kathy Hart’s

comment) (“BRING BACK CHRIS CUOMO…OR…#boycottcnn”); Ex. 38 at *7 (Jennifer Yate’s

comment), ECF No. 28-38 (“You are so friendly, pret[t]y.”). Many comments garner replies, and

replies to replies, allowing users to express their differences and engage in conversation. E.g., Ex.

1 at *6–8 (discussing administration of COVID-19 vaccine to pregnant people); Ex. 21 at *3–5

(discussing effectiveness of masks in limiting the spread of COVID-19).

        This type of exchange, between diverse groups of speakers on any and every topic of

interest, is the hallmark of a public forum. See, e.g., Knight First Amendment Inst., 928 F.3d at

237; Kimsey v. City of Sammamish, No. C21-1264 MJP, 2021 WL 5447913, at *4 (W.D. Wash.

Nov. 22, 2021) (“The comment section is akin to a traditional public forum where access is

‘unfettered’ and ‘indiscriminate.’” (quotation omitted)).

        The NIH’s bald assertion in its comment guidelines that its social media accounts “are not

intended to serve as public forums,” Ex. 19, does not change the analysis.13 As the D.C. Circuit

has emphasized, the government’s own description of the forum—as designated, limited, or

nonpublic—is not dispositive if “consistently contradicted by practice.” Stewart, 863 F.2d at 1021;

id. at 1016 (noting that the determination of whether the government has intentionally opened a



   13
      It is not even clear that the NIH’s comment guidelines should be understood as a statement
of policy with respect to the NIH Facebook Page and Instagram Account at all. Prior to the filing
of this lawsuit, the comment guidelines were nowhere linked to or referenced on those pages. Stip.
¶ 53; see Archdiocese of Wash. v. Wash. Metro Area Transit Auth., 897 F.3d 314, 324 (D.C. Cir.
2018) (explaining that “subject matter regulations” must be set out “prospectively and
categorically”). Although the government linked to a “privacy policy,” which in turn included a
sentence advising commenters that “spam” or “improper, inflammatory, off-topic or offensive”
speech could be removed, Stip. ¶ 54, this standard does not reflect what the NIH asserts was its
operative comment guideline policy at the time, Stip. ¶ 51. That policy does not prohibit
“improper,” “inflammatory,” or “offensive” speech. See Ex. 19.


                                                 26
        Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 33 of 48




space it controls for speech is “a matter to be inferred from a number of factors”); see also Paulsen

v. Cty. of Nassau, 925 F.2d 65, 69–71 (2d Cir. 1991) (affirming decision that Nassau Coliseum

was public forum despite county’s assertion that it “did not mean to permit noncommercial speech

on Coliseum grounds”). Here, the undisputed facts in the record demonstrate that despite the NIH’s

statement in its guidelines, its actual practices—choosing to use its social media accounts in order

to “communicate and interact with citizens,” Stip. ¶ 36, electing to open its comment threads up

to the public, and allowing commenters to speak on any topic (other than the ones foreclosed by

the practice of keyword blocking)—evince an intent to create a designated public forum.

        Indeed, nearly every court to have addressed the question has concluded that the interactive

components of government-run social media accounts are public forums for purposes of the First

Amendment. See Knight First Amendment Inst., 928 F.3d at 237; Davison, 912 F.3d at 687;

Kimsey, 2021 WL 5447913, at *4; Tanner v. Ziegenhorn, No. 4:17-cv-780-DPM, 2021 WL

4502080, at *2 (E.D. Ark. Sep. 30, 2021); Faison v. Jones, 440 F. Supp. 3d 1123, 1135 (E.D. Cal.

2020); One Wisc. Now, 354 F. Supp. 3d at 955; Garnier v. Poway Unified Sch. Dist., No. 17-cv-

2215-W (JLB), 2019 WL 4736208, at *10–11 (S.D. Cal. Sep. 26, 2019); cf. Robinson v. Hunt Cty.,

Tex., 921 F.3d 440, 448 (5th Cir. 2019) (assuming the Facebook page in question was a limited or

designated public forum); but see Morgan v. Bevin, 298 F. Supp. 3d 1003, 1010 (E.D. Ky. 2018)

(denying motion for preliminary injunction based on likelihood that public official’s Twitter and

Facebook pages were not susceptible to forum analysis).14 For the same reasons, the Court should

conclude that the NIH Facebook Page and Instagram Account are public forums.



   14
     Greater still is the number of courts that have adopted this reasoning in the course of rejecting
motions to dismiss by government actors. See Czosnyka v. Gardiner, No. 21-cv-3240, 2022 WL
407651, at *3 (N.D Ill. Feb. 10, 2022) (concluding that “plaintiffs have sufficiently alleged that
Alderman Gardiner’s Facebook Page is a public forum”); Scarborough v. Frederick Cty. Sch. Bd.,
517 F. Supp. 3d 569, 577 (W.D. Va. 2021) (concluding that a Facebook page for a public school

                                                 27
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 34 of 48




II.       The NIH’s keyword blocking violates the First Amendment.

          A.     The NIH’s keyword blocking unconstitutionally discriminates on the basis of
                 viewpoint.

          Viewpoint discrimination is unlawful in any forum. See, e.g., Rosenberger, 515 U.S. at 828

(“It is axiomatic that the government may not regulate speech based on its substantive content or

the message it conveys.”); Zukerman, 961 F.3d at 446. The “government may not grant the use of

a forum to people whose views it finds acceptable, but deny use to those wishing to express less

favored or more controversial views.” Police Dept. of City of Chicago v. Mosley, 408 U.S. 92, 96

(1972).

          Blatantly ignoring this fundamental precept, the NIH has used keyword blocking on its

Facebook Page and Instagram Account to “single[] out a subset of messages for disfavor,” in

violation of the First Amendment. Zukerman, 961 F.3d at 446 (citing Matal, 137 S. Ct. at 1766)

(internal citations omitted). Its keyword blocking suppresses comments that advocate against

animal testing and against the NIH’s continued funding of animal research. This practice burdens

the right of animal advocates like Plaintiffs to speak in public forums, as well as their right to hear

others speak. It is axiomatic viewpoint-based censorship.


“easily clear[ed] the public-forum threshold for a social media platform”); Felts, 504 F. Supp. 3d
at 986 (“Plaintiff alleges facts that show [defendant’s] Twitter account bears the hallmarks of a
public forum.”); West v. Shea, 500 F. Supp. 3d 1079, 1085 (C.D. Cal. 2020) (“Plaintiff alleges
sufficient facts to make it plausible that Defendant’s Profile was a public forum.”); Windom v.
Harshbarger, 396 F. Supp. 3d 675, 683 (N.D.W. Va. 2019) (“Taking [plaintiff’s] factual
allegations as true, he has successfully pled that [defendant] opened up his Facebook page as a
public forum for expressive activity.”); Hyman v. Kirksey, No. 3:18-cv-230-DPM, 2019 WL
2323864, at *2 (E.D. Ark. May 30, 2019) (explaining that the interactive components of the police
department’s Facebook page were not government speech and were “therefore subject to some
form of constitutional scrutiny”); Leuthy v. LePage, No. 1:17-cv-00296-JAW, 2018 WL 4134628,
at *13–15 (D. Me. Aug. 29, 2018) (concluding plaintiffs stated a claim based on social media
blocking on governor’s Facebook page); Price v. City of N.Y., No. 15 Civ. 5871 (KPF), 2018 WL
3117507, at *15 (S.D.N.Y. June 25, 2018) (explaining that “the City’s official Twitter pages share
many characteristics of public forums”).


                                                  28
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 35 of 48




       There is no question that the keywords selected by the NIH target a particular viewpoint.

At the time Plaintiffs filed the Complaint, the NIH suppressed all comments containing the terms

“PETA,” “PETALatino,” “#stopanimaltesting,” “#stoptesting,” and “#stoptestingonanimals.”

Stip. ¶ 58. As discussed above, PETA is one of the foremost animal-rights organizations

internationally, and it often runs social media campaigns urging its members and followers to

petition government leaders to stop animal testing, or urging them to cease specific projects or

experiments being run by the government. Id. ¶ 1; see also supra Statement of Facts III.A. The

phrases “#stopanimaltesting,” “#stoptesting,” and “#stoptestingonanimals” are equally direct in

their expression of a particular anti-animal testing perspective. Stip. ¶ 58. By blocking these

phrases, the NIH chose “for disfavor” words and phrases that expressed disagreement with the

NIH’s professed stance on animal testing. Indeed, after the Complaint was filed, the NIH

apparently recognized the plainly viewpoint-discriminatory nature of these keywords, and

removed these five terms from their list of blocked keywords in December 2021. See Stip. ¶ 60.

       The remaining words blocked by the NIH on Facebook and Instagram are similarly

designed to suppress animal advocates’ viewpoints by blocking words closely associated with their

efforts to urge the NIH to stop animal testing. For example, the blocked words “Suomi” and

“Harlow” refer to prominent scientists who relied on animal experiments in the course of their

research; PETA has led public anti-animal testing campaigns relating to their work. Stip. ¶ 58

nn.9–10. The other words the NIH targets are also strongly associated with animal testing

advocacy, including “primate(s),” “animal(s),” “test(ing),” and “torture.” Id. ¶ 58. These words are

frequently used in comments criticizing the NIH’s funding of animal testing. For example, in the

course of her animal advocacy, Ms. Krasno has urged the NIH to have “an open conversation about

all the animal testing you fund,” id. ¶ 73 & Ex. 33 (emphasis added), and has tried to call attention




                                                 29
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 36 of 48




to the “Harlow Primate Lab which receives funding from you, the @National Institutes of Health

(NIH), to torture animals in the name of science,” Stip. ¶ 77 & Ex. 41 (emphasis added).

        Any suggestion that the NIH has simply closed off its comment threads to a subject matter,

rather than a viewpoint, would be misplaced. The NIH has blocked specific words and phrases

closely associated with opposition to animal testing; it does not similarly block other animal-

related terms. While commenters are not permitted to include words like “monkey” or “primates”

in their posts, the NIH does not hide comments when they use other terms, like “livestock,”

“donors,” “samples,” “models,” or “subjects,” even those these terms could refer to the same

animals in more objectifying language. Nor does the NIH hide comments when they refer to other

animals. For example, words like “scorpion,” “guinea pig,” and “sheep,” along with other animal

terms, appear throughout the NIH’s Facebook and Instagram comments sections. See, e.g., Ex. 1

at *12 (comments of Justin Nance and Manny A Marino), *14–15 (comments of Jose Lopez and

Daniel Mullin). In other words, members of the public opposed to vaccines can complain “[w]e

are not lab rats,” id. at *9 (Jenna Silverayne Hart’s comment), while someone asking the NIH to

stop “tormenting” lab rats would be censored, Stip. ¶ 58. The NIH’s keyword blocking, then,

suppresses animal advocacy and not animal-related content generally. It therefore targets a

“prohibited perspective, not [a] general subject matter,” and so is unconstitutional. Rosenberg, 515

U.S. at 831; see also R.A.V. v. City of St. Paul, Minn., 505 U.S. 377, 394 (1992) (“Selectivity of

this sort creates the possibility that the city is seeking to handicap the expression of particular

ideas.”).

        In a public forum, viewpoint discrimination by the government is rarely, if ever, justifiable.

See Iancu v. Brunetti, 139 S. Ct. 2294, 2302 (2019) (explaining that a “finding of viewpoint bias

end[s] the matter”); PETA v. Gittens, 215 F. Supp. 2d 120, 134 & n.41 (D.D.C. 2002) (explaining




                                                 30
        Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 37 of 48




that because viewpoint discrimination is unconstitutional in a public or limited public forum, a

court need not consider the motives of the government censor). And the NIH’s attempts to explain

away its plainly viewpoint-discriminatory practice as merely an incidental product of enforcing its

guidelines are unconvincing.

        First, the NIH has asserted that its guidelines allow it to hide “inflammatory” comments,

Stip. ¶¶ 54, 87, but that distinction is itself viewpoint-discriminatory. See Matal, 137 S. Ct. at 1763

(holding that federal trademark law prohibiting “offensive” speech was unconstitutional viewpoint

discrimination because “[g]iving offense is a viewpoint”); Iancu, 139 S. Ct. at 2299.15

        Second, the NIH’s claim that it uses the list of blocked keywords to prevent people from

posting “off-topic” comments, Stip. ¶¶ 47, 54, 87, is implausible. The NIH prevents all comments

containing the blocked keywords from appearing in the comment threads, regardless of whether

those comments are actually off-topic. Plaintiffs’ own experience demonstrates that the NIH

suppresses on- and off-topic animal advocacy alike. On May 27, 2021, Ms. Wagaman, an

employee of PETA, watched a Facebook Live interview between Dr. Collins and Dr. Kizzmekia

Corbett on “her research & the development of the mRNA COVID-19 vaccines.” Stip. ¶ 65 & Ex.

25 at *20 (NIH’s comment). Ms. Wagaman attempted to participate in the discussion, asking,

“Why is the NIH still wasting funds on Elisabeth Murray’s monkey fright experiments instead of

investing more in important clinical research about COVID-19?” See Ex. 24 at *2 (Evelyn

Wagaman’s comment). Her comment pertained to Dr. Corbett’s and Dr. Collins’s discussion, but

it was hidden nevertheless. Id. Similarly, Ms. Krasno responded to an NIH Facebook post about



   15
      As a factual matter, the NIH’s “current, operative” version of its comment guidelines, Stip.
¶ 51, do not actually ban “inflammatory” speech, Ex. 19. But to the extent the NIH seeks to justify
its keyword blocking as designed to prevent “inflammatory” comments, the result is the same:
suppressing speech because it may inflame others is unconstitutional.


                                                  31
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 38 of 48




the identification of brain cells that may be linked to post-traumatic stress disorder and anxiety

disorders, speaking candidly about how working in an animal research lab affected her mental

health. She wrote:

       I was diagnosed with PTSD after working at @University of Wisconsin-Madison's
       Harlow Primate Lab which receives funding from you, the @National Institutes of
       Health (NIH), to torture animals in the name of science. Its despicable that you
       continue to harm animals and call it progress when so many people are without the
       means to access mental healthcare, general healthcare, and medication that already
       exists.

Stip. ¶ 77 & Ex. 41. Because her comment contained the words “animal,” “torture,” and “primate,”

it was hidden, despite the fact that her discussion of her diagnosis pertained to the NIH’s post. Id.

       It is clear, then, that the NIH is not actually suppressing Plaintiffs’ comments because those

comments violate its guidelines. It is suppressing comments containing the blocked keywords

because they are associated with advocacy on behalf of animals, regardless of whether they pertain

to the NIH’s own messaging.

       The agency’s treatment of other forms of so-called “off-topic” comments further

demonstrates that it is discriminating against animal advocacy, not consistently ensuring that

comments remain “on-topic.” The NIH does not routinely remove, much less suppress in advance,

comments that violate its off-topic rule but that do not contain the blocked keywords. For example,

on an NIH Facebook post from July 3, 2021, about research on social deprivation among adopted

children, one commenter wrote: “HI, does anyone know where I can make the Janssen

Johnson&Johnson vaccine?” Ex. 27 at *2 (Paul Frizerul Din Liverpool’s comment). This is one

among many COVID-19-related or vaccine-related comments that users published in response to

posts addressing unrelated topics. See Ex. 6 at *3 (Arshad Ali’s comment). Off-topic comments

on a variety of other subjects also appear in the NIH’s Facebook and Instagram comments sections.

On an Instagram post describing how scientists map protein structures, for example, one user



                                                 32
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 39 of 48




commented to promote their public health nonprofit. See Ex. 10 at *2 (communityhealthed’s

comment). Another raised concerns about alleged human trafficking conspiracies in Hawaii. Id.

(saveourchildrennow’s comment). On a different Instagram post recognizing public service

recognition week, a user asked the NIH why it didn’t promote “an Alkaline diet and lifestyle,”

advising then-Director Francis Collins that “for the head of national institute of health you don’t

look like the healthiest person.” Ex. 36 at *3 (terpinserbian’s comment). Finally, commenting on

a Facebook post about the persistence of fearful memories, one user asserted that the “magnet

challenge is real.” See Ex. 42 at *3 (Norma Hostetler’s comment).

        By censoring only animal advocacy, and not all unrelated or off-topic speech, the NIH

commits unconstitutional viewpoint discrimination. See Zukerman v. U.S. Postal Serv., No. 15-

cv-2131 (CRC), 2021 WL 4355426, at *11 (D.D.C. 2021) (rejecting Postal Service’s claim that it

applied viewpoint-neutral guidelines prohibiting “political content” when it allowed citizens to

make custom stamps featuring the Supreme Court case Obergefell v. Hodges but disallowed

custom stamps featuring Citizens United v. FEC); see also PETA v. Gittens, 215 F. Supp. 2d at

134 (“[I]nconsistent treatment of messages which are similarly noncompliant . . . is inherently

unreasonable and unacceptable discrimination under the First Amendment, regardless of whether

the [government] believes it is not viewpoint related.”).

       B.      The NIH’s keyword blocking is also an unconstitutional content-based
               restriction on speech in a public forum.

       The NIH’s keyword blocking would constitute unconstitutional content-based

discrimination even if it were not viewpoint-based. Strict scrutiny applies to the NIH’s keyword

blocking because the NIH has singled out specific topics for disfavored treatment within an

otherwise open public forum. See, e.g., Act Now to Stop War and End Racism Coal. v. District of

Columbia, 846 F.3d 391, 403, 406 (D.C. Cir. 2017) (explaining that content-based restrictions are


                                                33
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 40 of 48




those that distinguish kinds of speech “based on their particular communicative content,” due to a

risk “that government is favoring particular viewpoints or subjects”). To survive strict scrutiny,

the NIH must demonstrate that it has a compelling interest in suppressing the keywords from the

forum, that its use of keyword blocking is narrowly tailored to serve that compelling interest, and

that no less restrictive alternatives exist to further its interest. See, e.g., Am. Freedom Def. Initiative

v. Wash. Metro. Area Transit Auth., 898 F. Supp. 2d 73, 80–81 (D.D.C. 2012). The NIH’s use of

content-based keywords flounders at every step.

                1.      The NIH’s keyword blocking is subject to strict scrutiny.

        As a threshold matter, the NIH’s keyword blocking is subject to strict scrutiny because the

comment threads are open designated public forums. It is true that government entities may

constitutionally limit forums for use by “for certain groups or for the discussion of certain topics,”

Walker, 576 U.S. at 215, so long as those limitations are viewpoint-neutral and reasonable in light

of the purpose of the forum, Rosenberger, 515 U.S. at 829. Here, however, the undisputed facts

make clear that the NIH has not restricted the comment threads at issue. The NIH has instead

opened the comment threads for essentially indiscriminate expression by members of the public,

excluding only speech relating to animal advocacy. See supra Part I.B.

        Any attempt by the NIH to rely on its comment guidelines as evidence it has created a

limited public forum “for the discussion of certain topics” would fail. The NIH’s actual practice

in operating the Facebook Page and Instagram Account is wholly unlike the policy outlined in

those guidelines. To name a few examples:

            •   The guidelines prohibit “off-topic” speech, Ex. 19, but as discussed at
                length above, the NIH does not limit off-topic speech unless that speech
                concerns animal advocacy. See supra Part II.A.

            •   The guidelines prohibit images and external links. See Ex. 19. Images and
                external links, however, abound in the comments sections of the NIH’s



                                                    34
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 41 of 48




               social media pages. E.g., Ex. 4 at *3 (comments of Erica Alice, Peter Roy,
               and Margaret Ann Wheeler), *6 (Peter Roy’s comment), *8 (Dorothy
               Stoneinouye’s comment), *14 (Sa’adi Nasim’s comment), *15
               (Zuckforprison Bykowski’s comment), *16 (comments of Lawrence Powe
               and Gul Sanya), *17 (Qudell Richards’s comment), *18 (Kaoutar Imani’s
               comment), *19 (comments of Margaret Ann Wheeler and Gul Sanya), *20
               (JJ Alexander’s comment), *22 (Peter Roy’s comment), *23 (Laurel R.
               Ybarra’s comment), *26 (William Webb’s comment), *30 (Matt Rob’s
               comment), *34 (Brandy Lucore Swayze’s comment), *35 (Derek Antal’s
               comment).

           •   The guidelines also prohibit comments that contain commercial
               endorsements, see Ex. 19, but these too may be found on numerous
               comment threads. See, e.g., Ex. 1 at *9 (William Clement’s comment); Ex.
               11 at *5 (araijelson1’s comment); Stip. Ex. 13 at *3 (shiela_ffrey12’s
               comment), ECF No. 28-13; Ex. 42 at *2 (Ebi Isaiah’s comment).

           •   The guidelines advise users that “all comments are reviewed before they
               can be posted.” See Ex. 19. But the NIH admitted in the course of this
               litigation that it does not engage in this type of review. Stip. ¶ 61.

       To the extent the NIH’s comment guidelines are applied, then, they are applied not to

confine the forum to particular topics of the NIH’s choosing, but to allow the agency to selectively

block speech it disfavors. Faced with evidence of similarly underenforced commenting rules, the

Western District of Washington concluded that the government had not limited the scope of the

forum. See Kimsey, 2021 WL 5447913, at *4 (“The lack of consistent application of the off-topic

rule here weighs heavily in favor of finding a designated forum because an unevenly enforced rule

is no policy at all for the purposes of public forum analysis.” (internal citations omitted)); see also

Hopper v. City of Pasco, 241 F.3d 1067, 1076 (9th Cir. 2001) (“[C]onsistency in application is the

hallmark of any policy designed to preserve the non-public status of a forum.”).

       Stewart v. D.C. Armory Board is particularly instructive on this point. There, the D.C.

Circuit concluded that a plaintiff plausibly alleged that a private stadium operated by the Armory

Board was a public forum. 863 F.2d at 1018–19. Although the Board had removed the plaintiffs’

religious banners, the Court explained that the stadium was otherwise a “large open space,



                                                  35
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 42 of 48




dedicated to boisterous recreational activity,” and that in operating the stadium, the Armory Board

had “a practice—if not a policy—of allowing various types of first amendment activity to take

place at RFK stadium during games.” Id. And the Court took pains to explain the distinction

between unconstitutional speech restrictions in a designated public forum and speech restrictions

that limit the openness of the forum itself. “[T]he very fact that the government has restricted

speech in the manner challenged,” it held, “does not of its own weight demonstrate that the

government did not intend to designate a public forum.” Id. at 1017. For the same reasons,

regardless of the text of the comment guidelines, the comment threads on the NIH Facebook Page

and Instagram Account function as open designated public forums. The NIH’s keyword blocking

must therefore be evaluated under strict scrutiny.

                2.      The NIH’s keyword blocking fails strict scrutiny.

        As the Supreme Court has repeatedly held, while viewpoint discrimination is a “blatant”

and “egregious” type of content discrimination, Rosenberger, 515 U.S. at 828, “the First

Amendment’s hostility to content-based regulation extends . . . to prohibition of public discussion

of an entire topic,” Consol. Edison Co. of N.Y., Inc. v. Pub. Serv. Comm’n of N.Y., 447 U.S. 530,

537 (1980). Content-based restrictions in designated public forums are therefore presumptively

unconstitutional. See Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015). To survive strict

scrutiny, the NIH must demonstrate that its keyword blocking: (1) “serves compelling state

interests,” id.; (2) is “narrowly tailored to that end,” id.at 171; and (3) is “the least restrictive means

of serving [its] compelling interest,” Am. Freedom Def. Initiative, 898 F. Supp. 2d at 83. The NIH’s

use of keyword blocking in this case fails all three prongs of the strict scrutiny analysis.

        First, the NIH has no compelling interest in preventing individuals from using the blocked

keywords in its designated public forums. As discussed above, the government has no legitimate,




                                                    36
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 43 of 48




much less compelling, interest in restricting speech it considers “inflammatory.” See supra Part

II.A; see also Am. Freedom Def. Initiative, 898 F. Supp. 2d at 83 (“The First Amendment protects

obnoxious and offensive speech; some might say that the Amendment’s protections are needed

more strongly for such speech than otherwise.”).

        Nor is the NIH’s interest in preventing distraction from its preferred public health

messaging, Stip. ¶ 87, compelling. In Mahoney v. Babbit, the government attempted to prohibit

anti-abortion advocates from unfurling banners along an inauguration parade route, arguing that

the demonstrators and their banners “would constitute a physical intrusion into another event for

the purpose of interjecting [their] own convictions or beliefs.” 105 F.3d 1452, 1458 (D.C. Cir.

1997) (cleaned up). The D.C. Circuit dismissed that argument, holding that the government’s “goal

. . . hardly constitutes a compelling state interest, or, in the face of the First Amendment, any

legitimate state interest at all.” Id.; see also Kimsey, 2021 WL 5447913, at *5 (“[T]he avoidance

of distraction and dilution of public safety messages does not appear to be a compelling

government interest.”). So too, here—in the face of the First Amendment, the NIH’s desire to

prevent distraction is no “legitimate state interest” at all.

        Second, even if its purported interests were compelling, a ban on the use of animal

advocacy-related words is not narrowly tailored to these interests. The NIH’s list of blocked

keywords is radically underinclusive and overinclusive, and thus by definition not narrowly

tailored. See Brown v. Entm’t Merchs. Ass’n, 564 U.S. 786, 802, 804 (2011).

        To begin, the NIH’s keyword blocking practice is underinclusive, raising “serious doubts

about whether the government is in fact pursuing the interest it invokes, rather than disfavoring a

particular speaker or viewpoint.” Brown, 564 U.S. at 802; see also Reed, 576 U.S. at 171–72 (a

speech restriction is not “narrowly tailored to further a compelling government interest” when it




                                                   37
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 44 of 48




is “hopelessly underinclusive”). Here, if the NIH’s interest is in preventing distraction from its

own posts, all comments by users “ha[ve] effectively the same minimal distractive and dilutive

effect,” Kimsey, 2021 WL 5447913, at *5, but its keyword blocking targets only animal advocacy.

If the NIH’s interest is to limit distraction from “on-topic” comments, its keyword blocking leaves

undisturbed scores of comments that are off-topic. See supra Part II.A (collecting examples). The

same is true for potentially inflammatory or strongly worded speech. For example, the NIH has

not hidden or deleted comments calling others “deplorable,” see Ex. 3, at *3 (Derosnec Niaga’s

comment), “clown[s],” Ex. 25 at *27 (Jennifer Mullen’s comment), “slave[s],” id. (Calico Jack’s

comment), “Anti-Vaxx ‘Medical Free-Dumb’ Troll[s],” Ex. 52 at *24 (Peter Roy’s comment), or

“damn Karen[s],” Ex. 21 at *3 (Lori Koetzner’s comment).

       This underinclusiveness “is alone enough to defeat” the NIH’s keyword blocking, Brown,

564 U.S. at 802, but equally troubling is its overbreadth. Where government censorship is

“substantially broader than necessary to achieve the government’s interest,” it obviously cannot

survive narrow tailoring. Boardley v. U.S. Dep’t of Interior, 615 F.3d 508, 524 (D.C. Cir. 2010)

(quoting Ward v. Rock Against Racism, 491 U.S. 781, 800 (1989)) (striking down a content-neutral

permitting regime as not narrowly tailored to the government’s interest in protecting the national

parks, their tranquility, and their visitors); see also Brown, 564 U.S. at 804 (a law prohibiting the

sale of violent video games to minors without parental consent was overinclusive because it

applied to minors whose parents did not care whether they purchased such games). As discussed

above, the NIH has restrained all speech containing any of two dozen words, regardless of the

comment’s relevance to the thread or its likelihood of inflaming others See supra Part II.A. This

is obviously—and fatally—overbroad. The government simply cannot show the necessary fit




                                                 38
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 45 of 48




between any interest that could support suppressing off-topic or inflammatory speech, on the one

hand, and its choice to hide all comments using the blocked keywords on the other.

       Third, the NIH’s use of keyword blocking fails strict scrutiny because the NIH has ignored

the availability of less restrictive alternatives. See Am. Freedom Def. Initiative, 898 F. Supp. 2d at

83 (granting preliminary injunction because agency’s refusal to run advertisement was not the least

restrictive means of serving its interests); cf. Reed, 576 U.S. at 173 (“The Town has ample content-

netural options available to resolve problems with safety and aesthetics.”). The NIH could actively

respond to comments on Facebook and Instagram, encouraging users to remain civil, answering

questions, or correcting incorrect information. On Instagram, the NIH could “pin” comments it

considers particularly worthy. See About Protecting your Business on Instagram, Instagram Help

Center, https://perma.cc/XN5T-TVUN?type=image. On either platform, the NIH could manually

enforce rate limits to ensure a single user does not “spam” a post with repetitive comments. The

NIH could also ask users to focus comments on the topic being discussed in a post without

enforcing a categorical prohibition on words and phrases associated with animal advocacy. But

what the agency may not do is open a forum for communication and interaction by the general

public and then suppress protected speech related to animal advocacy. For these reasons, the NIH’s

keyword blocking is an unconstitutional content-based restriction on speech.

       C.      The NIH’s keyword blocking would violate the First Amendment even if the
               comment threads were considered limited forums or nonpublic forums.

       Even in limited or nonpublic forums, a court must satisfy itself that restrictions on speech

are “reasonable in light of the purpose served by the forum” and viewpoint-neutral. Cornelius, 473

U.S. at 806. The NIH’s keyword blocking is neither.

       First, the NIH’s keyword blocking practice fails even if the comment threads are

considered limited or nonpublic forums for the fundamental reason, detailed above, that they


                                                 39
       Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 46 of 48




discriminate based on viewpoint. See supra Part II.A. Viewpoint discrimination is unconstitutional

in any forum. Rosenberger, 515 U.S. at 829.

       Second, the NIH’s keyword blocking is not reasonable in light of the purpose served by

the NIH Facebook Page and Instagram Account. The Supreme Court has explained that, in order

to show that a speech restriction is “reasonable,” the government must show that its restraint

furthers a “permissible objective” and contains “objective, workable standards” that are “capable

of reasoned application.” Minn. Voters All. v. Mansky, 138 S. Ct. 1876, 1886, 1891–92 (2018). At

the outset, the government’s asserted interests are plainly impermissible. See supra Part II.B.2.

And far from being “objective” or “workable,” the government’s prohibitions on off-topic and

inflammatory speech are underinclusive, overinclusive, and susceptible to biased and

discriminatory application, as the record demonstrates. See supra Parts II.A, II.B.1 (describing the

NIH’s inconsistent enforcement of its guidelines); see also Mansky, 138 S. Ct. at 1891 (courts

should consider whether “unfair or inconsistent enforcement” makes the speech restrictions

unreasonable); Archdiocese of Wash., 897 F.3d at 330 (explaining that “a challenged regulation

may be unreasonable, regardless of the reasons for its adoption, if it is inconsistently enforced”).

The differential treatment of speech within these forums is not the type of inconsistency that

reflects “close calls on borderline or fanciful cases.” Mansky, 138 S. Ct. at 1891. These are

inconsistencies that undermine the government’s very premise for regulating speech in the first

instance. They are so pervasive that, even if the NIH had a legitimate objective for regulating

speech, its rules could not stand.

                                           Conclusion

       For the reasons stated above, the Court should grant Plaintiffs’ motion for summary

judgment.




                                                40
     Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 47 of 48




Date: April 1, 2022                   Respectfully submitted,

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                                    41
Case 1:21-cv-02380-BAH Document 30-1 Filed 04/01/22 Page 48 of 48




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                               42
